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 EXHIBIT “M”
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  From: GARY LIGHTMAN garylightman@lightmanlaw.com
Subject: Zekaria Deposition 5/28/24
   Date: May 15, 2024 at 12:03 AM
     To: Patrick Healey phealey@rebarkelly.com
    Cc: Laver, Seth L. slaver@goldbergsegalla.com, Joseph Ross jross@goldbergsegalla.com, Gary Weiss wgary4109@gmail.com,
         sam gross charltonholdinggroupllc@aol.com, Sam Gross Scg1212@gmail.com, Kim DiTomaso kditomaso@lightmanlaw.com,
         Glenn Manochi gmanochi@lightmanlaw.com, GARY LIGHTMAN ltag8r@me.com




       Patrick,

       This email will confirm that the Zekaria Defendants failed to appear as
       scheduled for their depositions on May 14, 2024. You did not obtain
       any Protective Order; you did not even file a motion for any relief; you
       simply and unilaterally failed to produce Daphne Zekaria for her
       deposition as scheduled, without our permission or consent, and
       without any Court Order.

       We have re-scheduled Zekaria’s deposition for May 28, 2024. An
       Amended Deposition Notice is attached to this email. Absent our
       consent or a Court Order, we intend to proceed forward with the
       Zekaria deposition on May 28, 2024. We will move for sanctions if
       Zekaria just doesn’t show up, like she did for her depo scheduled for
       May 14.

       Please be guided accordingly.

       thx
       Gary Lightman
       cell 215-760-3000

       attachment

       cc: all counsel/parties



        Amd.Depo.Notic
         e.Zeka…24.pdf



       FYI--excerpt from today’s Legal INtelligancer:

                   A pharmaceutical manufacturer based in China is facing a
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       A pharmaceutical manufacturer based in China is facing a
       monetary sanction in a New Jersey court for failing to
       make its CEO available for a deposition in
       multidisciplinary litigation over alleged cancer-causing
       contamination in the blood pressure drug Valsartan.

       Thomas Vanaskie, a former judge of the U.S. Court of
       Appeals for the Third Circuit who is now serving as a
       special master in the Valsartan MDL, ordered the sanctions
       in the case, which is being heard in federal court in
       Camden, New Jersey. He cited the failure by Zhejiang
       Huahai Pharmaceutical Co. to compel CEO Baohua Chen
       to sit for his deposition, and the company’s violations of
       orders to produce certain documents.




Thomas Vanaskie of Stevens &    Vanaskie, who is with Stevens &
Lee. Courtesy photo
                                Lee in Scranton, Pennsylvania,
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Lee. Courtesy photo
                                 Lee in Scranton, Pennsylvania,
       will set the amount of sanctions at a later date after hearing
       input from plaintiffs counsel about the costs and attorney
       fees associated with its efforts to obtain ZHP’s
       compliance, and a proposed monetary penalty if it is
       believed such a measure is appropriate. He also sought the
       plaintiffs’ input on an adverse-inference jury instruction
       concerning information that would have been disclosed in
       Chen’s deposition and the documents.



—
Gary Lightman, Esquire
LIGHTMAN & MANOCHI
cell: 215-760-3000
email: garylightman@lightmanlaw.com and Ltag8r@me.com


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